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                                    UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                          LAREDO DIVISION



Juan Castillo                                        §
                                                     §
                       Plaintiff,                    §
                                                     §
                                                     §   Case No. 5:18-cv-00041
v.                                                   §
                                                     §
                                                     §
JLG Industries, Inc., Oshkosh Corporation and        §
Jorge Estrada                                        §
                                                     §
                                                     §
Defendants                                           §


_____________________________________________________________________

        PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE
_____________________________________________________________________

         COMES NOW Juan Castillo, plaintiff in this action, and Plaintiffs’ counsel and

file this response to the Honorable Court’s Order to Show Cause respectfully showing

as follows:

     1. On March 29, 2019, the undersigned received this Honorable Court’s Order to

Show Cause (Dkt. 32) as to why Plaintiffs’ counsel did not attend a teleconference

hearing set for March 26, 2019. The Order to Show Cause requests a brief be filed in

response by April 12, 2019. This brief in response is timely filed as required by the

Court’s order.

     2. On November 27, 2018, Plaintiff’s counsel received the Scheduling Order setting

numerous deadlines on the first two pages of the order. (Dkt. 23). On the third and final

page there was an additional teleconference hearing that was set for March 26, 2019.


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This hearing was not placed on Plaintiff’s calendar through an unintentional calendaring

error, and as a result, Plaintiff did not appear at the teleconference nor initiate the call.

The failure to appear was not intentional nor was it the result of conscious indifference.

  3. Plaintiff’s counsel has reviewed the court’s order noting the attempt by Defendants

counsel’s assistant to contact Plaintiff’s counsel and the voicemail message claimed to

have been left. Plaintiff counsel does not have any record of any voicemail message or

call recorded. Nonetheless, Plaintiff’s counsel does not shirk the responsibility to have

called in; rather, only responds to this issue as noted in the order.

  4. The undersigned respectfully requests that the court find that good cause existed

for Plaintiff’s counsel not attending the hearing that was set on March 26, 2019.

Plaintiff’s counsel can appear before this Honorable Court anytime upon reasonable

notice should the Court deem further inquiry necessary.

                                          Prayer

      For these reasons, Plaintiff and Plaintiff’s counsel respectfully request the court

find that Plaintiffs’ counsel did not attend the hearing because of good cause, and

request that they be granted further relief to which they may be entitled.




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                                    Respectfully submitted,

                                    BY: “/s/ Ronald Rodriguez”
                                    Ronald Rodriguez
                                    State Bar No. 00788306
                                    The Law Offices of Ronald Rodriguez
                                    A Professional Corporation
                                    915 Victoria Street
                                    Laredo, Texas 78040
                                    Tel: (956) 796-1000
                                    Fax: (956) 796-1002
                                    Email: ron@ronaldrodriguez.com
                                    ATTORNEYS FOR PLAINTIFF



                         CERTIFICATE OF SERVICE

    I certify that a true and correct copy of the foregoing has been served on all

counsel of record through the Electronic Case Files System of the Southern District

of Texas on this April 12, 2019.

                                    “/s/ Ronald Rodriguez”
                                    Ronald Rodriguez




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